14 F.3d 594
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Earl Linwood GREGORY, Petitioner-Appellant,v.William S. LAWHORN, Respondent-Appellee.
    No. 93-6437.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 27, 1993.Decided Jan. 5, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-92-156-R)
      Earl Linwood Gregory, appellant pro se.
      Robert H. Anderson, III, Office of the Atty. Gen. of Virginia, Richmond, VA, for appellee.
      W.D.Va.
      DISMISSED.
      Before HALL and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Earl Linwood Gregory seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Gregory v. Lawhorn, No. CA-92-156-R (W.D.Va. Mar. 30, 1993).  We deny Gregory's motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    